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                                                                                                                               Exhibit 3.2


                                               THE COMPANIES LAW (2010 REVISION)
                                                    OF THE CAYMAN ISLANDS
                                                 COMPANY LIMITED BY SHARES

                             SIXTH AMENDED AND RESTATED MEMORANDUM OF ASSOCIATION

                                                                      OF
                                                          NETQIN MOBILE INC.
                                                     (Adopted by a Special Resolution
                                                      passed on March 11, 2011 and
               effective conditional and immediately upon the completion of the Company’s initial public offering of Class A
                                        Common Shares represented by American Depositary Shares)
 1.      The name of the Company is NetQin Mobile Inc.
 2.      The registered office of the Company shall be at the offices of Maples Corporate Services Limited, PO Box 309, Ugland House,
         Grand Cayman KY1-1104, Cayman Islands, or at such other place as the Directors may from time to time decide.
 3.      Subject to the following provisions of this Memorandum, the objects for which the Company is established are unrestricted and
         the Company shall have full power and authority to carry out any object not prohibited by the Companies Law (2010 Revision)
         or as the same may be revised from time to time, or any other law of the Cayman Islands.
 4.      Nothing in this Memorandum shall permit the Company to carry on a business for which a license is required under the laws of
         the Cayman Islands unless duly licensed.
 5.      The Company shall not trade in the Cayman Islands with any person, firm or corporation except in furtherance of the business of
         the Company carried on outside the Cayman Islands; provided that nothing in this clause shall be construed as to prevent the
         Company effecting and concluding contracts in the Cayman Islands, and exercising in the Cayman Islands all of its powers
         necessary for the carrying on of its business outside the Cayman Islands.
 6.      The liability of each Member is limited to the amount from time to time unpaid on such Member’s shares.
 7.      Shares in the Company shall be issued in the currency of the United States of America.
 8.      The share capital of the Company is US$80,000 divided into (a) 560,000,000 Class A Common Shares of a par value of
         US$0.0001 each and (b) 240,000,000 Class B Common Shares of a par value of US$0.0001 each.
 9.      The Company has the power to redeem or purchase any of its shares and to increase or reduce the said capital subject to the
         provisions of the Companies Law (2010 Revision) and the Articles of Association and to issue

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         any part of its capital, whether original, redeemed or increased with or without any preference, priority or special privilege or
         subject to any postponement of rights or to any conditions or restrictions and so that unless the conditions of issue shall otherwise
         expressly declare every issue of shares whether declared to be preference or otherwise shall be subject to the powers hereinbefore
         contained.
 10. The Company has the power to register by way of continuation as a body corporate limited by shares under the laws of any
     jurisdiction outside the Cayman Islands and to be deregistered in the Cayman Islands.
 11. Capitalized terms that are not defined in this Memorandum of Association bear the same meaning as those given in the Articles
     of Association of the Company.

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                                               THE COMPANIES LAW (2010 REVISION)
                                                    OF THE CAYMAN ISLANDS
                                                 COMPANY LIMITED BY SHARES
                                SIXTH AMENDED AND RESTATED ARTICLES OF ASSOCIATION

                                                                      OF
                                                             NetQin Mobile Inc.
                                                    (Adopted by a Special Resolution
                                                      passed on March 11, 2011 and
            effective conditional and immediately upon completion of the Company’s initial public offering of Class A Common
                                           Shares represented by American Depositary Shares)

 INTERPRETATION
 1.      In these Articles, Table A in the First Schedule in the Companies Law does not apply and unless otherwise defined, the defined
         terms shall have the meanings assigned to them as follows:

 “AFFILIATE”                                            with respect to any specified Person, any other Person that directly, or indirectly
                                                        through one or more intermediaries, controls or is controlled by, or is under
                                                        common control, with such specified Person;

 “ARTICLES”                                             these Articles of Association of the Company as altered or added to, from time to
                                                        time;

 “BOARD”                                                the board of Directors for the time being of the Company;

 “BUSINESS DAY”                                         a day (excluding Saturdays or Sundays), on which banks in Hong Kong,
                                                        Shanghai, Beijing and New York are open for general banking business
                                                        throughout their normal business hours;

 “CHAIRMAN”                                             the Chairman of the Board appointed pursuant to Article 78;

 “CLASS A COMMON SHARE”                                 Class A Common Share in the share capital of the Company;

 “CLASS B COMMON SHARE”                                 Class B Common Share in the share capital of the Company;

 “COMMON SHARES”                                        Class A Common Shares and Class B Common Shares, collectively;

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 “COMMISSION”                                           Securities and Exchange Commission of the United States of America or any
                                                        other federal agency for the time being administering the Securities Act;

 “COMPANIES LAW”                                        the Companies Law (2010 Revision) of the Cayman Islands and any statutory
                                                        amendment or re-enactment thereof. Where any provision of the Companies Law
                                                        is referred to, the reference is to that provision as amended by any law for the time
                                                        being in force;

 “COMPANY”                                              NetQin Mobile Inc., a Cayman Islands company limited by shares;

 “COMPANY’S WEBSITE”                                    the website of the Company, the address or domain name of which has been
                                                        notified to Members;

 “DIRECTORS”, “BOARD OF DIRECTORS”                      the directors of the Company for the time being, or as the case may be, the
 and “BOARD”                                            Directors assembled as a Board or as a committee thereof;

 “ELECTRONIC”                                           the meaning given to it in the Electronic Transactions Law (2003 Revision) of the
                                                        Cayman Islands and any amendment thereto or re-enactments thereof for the time
                                                        being in force and includes every other law incorporated therewith or substituted
                                                        therefore;

 “ELECTRONIC COMMUNICATION”                             electronic posting to the Company’s Website, transmission to any number, address
                                                        or internet website or other electronic delivery methods as otherwise decided and
                                                        approved by not less than two-thirds of the vote of the Board;

 “IN WRITING”                                           includes writing, printing, lithograph, photograph, type-writing and every other
                                                        mode of representing words or figures in a legible and non-transitory form and,
                                                        only where used in connection with a notice served by the Company on Members
                                                        or other persons entitled to receive notices hereunder, shall also include a record
                                                        maintained in an electronic medium which is accessible in visible form so as to be
                                                        useable for subsequent reference;

 “MEMBER”                                               the meaning given to it in the Companies Law;

 “MEMORANDUM OF ASSOCIATION”                            the Memorandum of Association of the Company, as amended and re-stated from
                                                        time to time;

 “MONTH”                                                calendar month;

 “ORDINARY RESOLUTION”                                  a resolution:

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                                                        (a)     passed by a simple majority of votes cast by such Members as, being
                                                                entitled to do so, vote in person or, in the case of any Member being an
                                                                organization, by its duly authorized representative or, where proxies are
                                                                allowed, by proxy at a general meeting of the Company; or

                                                        (b)     approved in writing by all of the Members entitled to vote at a general
                                                                meeting of the Company in one or more instruments each signed by one
                                                                or more of the Members and the effective date of the resolution so
                                                                adopted shall be the date on which the instrument, or the last of such
                                                                instruments if more than one, is executed;

 “PAID UP”                                              paid up as to the par value and any premium payable in respect of the issue of any
                                                        shares and includes credited as paid up;

 “PERSON”                                               any individual, partnership, firm, corporation, limited liability company,
                                                        association, trust, unincorporated organization or other entity, as well as any
                                                        syndicate or group that would be deemed to be a person under section 13(d)(3) of
                                                        the Securities Exchange Act;

 “REGISTER OF MEMBERS”                                  the register to be kept by the Company in accordance with the Companies Law;

 “SEAL”                                                 the Common Seal of the Company (if adopted) including any facsimile thereof;

 “SECURITIES ACT”                                       the Securities Act of 1933 of the United States of America, as amended, or any
                                                        similar federal statute and the rules and regulations of the Commission thereunder,
                                                        all as the same shall be in effect at the time;

 “SECURITIES EXCHANGE ACT”                              the Securities Exchange Act of 1934 of the United States of America, as amended,
                                                        or any similar federal statute and the rules and regulations of the Commission
                                                        thereunder, all as the same shall be in effect at the time;

 “SHARE”                                                any share in the capital of the Company and includes a fraction of a share;

 “SIGNED”                                               includes a signature or representation of a signature affixed by mechanical means
                                                        or an electronic symbol or process attached to or logically associated with an
                                                        electronic communication and executed or adopted by a person with the intent to
                                                        sign the electronic communication;

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 “SPECIAL RESOLUTION”                                 the meaning given to it in the Companies Law and includes a unanimous written
                                                      resolution;

 “STATUTES”                                           the Companies Law and every other laws and regulations of the Cayman Islands for the
                                                      time being in force concerning companies and affecting the Company;

 “SUBSIDIARIES”                                       with respect to any Person, any or all corporations, partnerships, limited liability
                                                      companies, joint ventures, associations and other entities controlled by such person
                                                      directly or indirectly through one or more intermediaries; and

 “YEAR”                                               calendar year.
 2.      In these Articles, save where the context requires otherwise:
         (b) words importing the singular number shall include the plural number and vice versa;
         (c)   words importing the masculine gender only shall include the feminine gender;
         (d) words importing persons only shall include companies or associations or bodies of persons, whether corporate or not;
         (e)   “MAY” shall be construed as permissive and “SHALL” shall be construed as imperative;
         (f)   a reference to a dollar or dollars (or $) is a reference to dollars of the United States;
         (g) references to a statutory enactment shall include reference to any amendment or re-enactment thereof for the time being in
             force;
         (h) any phrase introduced by the terms “including”, “include”, “in particular” or any similar expression shall be construed as
             illustrative and shall not limit the sense of the words preceding those terms; and
         (i)   Section 8 of the Electronic Transactions Law (2003 Revision) shall not apply.
 3.      Subject to the last two preceding Articles, any words defined in the Companies Law shall, if not inconsistent with the subject or
         context, bear the same meaning in these Articles.


                                                                  PRELIMINARY
 4.      The business of the Company may be conducted as the Directors see fit.

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 5.      The registered office of the Company shall be at such address in the Cayman Islands as the Directors shall from time to time
         determine. The Company may in addition establish and maintain such other offices and places of business and agencies in such
         places as the Directors may from time to time determine.


                                RIGHTS AND RESTRICTIONS ATTACHING TO COMMON SHARES
 6.      The rights and restrictions attaching to the Common Shares are as follows:
         (a)   Income
         Holders of Common Shares shall be entitled to such dividends as the Directors may in their absolute discretion lawfully declare
         from time to time.
         (b) Capital
         Holders of Common Shares shall be entitled to a return of capital on liquidation, dissolution or winding-up of the Company
         (other than on a conversion, redemption or purchase of shares, or an equity financing or series of financings that do not constitute
         the sale of all or substantially all of the shares of the Company) in accordance with these Articles and subject to the Companies
         Law.
         (c)   Attendance at General Meetings and Voting
         Holders of Common Shares have the right to receive notice of, attend, speak and vote at general meetings of the Company.
         Holders of Class A Common Shares and Class B Common Shares shall, at all times, vote together as one class on all matters
         submitted to a vote by the Members . Each Class A Common Share shall be entitled to one (1) vote on all matters subject to the
         vote at general meetings of the Company, and each Class B Common Share shall be entitled to ten (10) votes on all matters
         subject to the vote at general meetings of the Company.
         (d) Conversion
    (i) Each Class B Common Share is convertible into one (1) Class A Common Share at any time by the holder thereof. The right to
 convert shall be exercisable by the holder of the Class B Common Share delivering a written notice to the Company that such holder
 elects to convert a specified number of Class B Common Shares into Class A Common Shares. In no event shall Class A Common
 Shares be convertible into Class B Common Shares.
    (ii) If at any time Dr. Henry Yu Lin, Mr. Xu Zhou and Dr. Vincent Wenyong Shi, together with their Affiliates, collectively are
 registered (in the Register of Members) as the holders of less than 5% of the total number of the issued and outstanding Class B
 Common Shares of the Company, each issued and outstanding Class B Common Share shall be automatically and immediately
 converted into one Class A Common Share, and no Class B Common Shares shall be issued by the Company thereafter.
    (iii) Upon any sale, pledge, transfer, assignment or disposition of Class B Common Shares by a holder thereof to any person or
 entity which is not an Affiliate of such holder, a Founder or a Founder’s Affiliate, each such Class B Common Share shall be
 automatically and immediately converted into one Class A Common

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 Share; provided that, except as set forth in Article 6(d)(iv) below, a change in the beneficial ownership of Class B Common Shares
 from a holder of Class B Common Shares to an Affiliate of such holder shall not cause a conversion under this Article 6(d)(iii). In
 addition, if at any time more than fifty percent (50%) of the ultimate beneficial ownership of any holder of Class B Common Shares
 (other than the Founders or the Founders’ Affiliates) changes, each such Class B Common Share shall be automatically and
 immediately converted into one Class A Common Share. For the avoidance of doubt, the pledge, transfer, assignment or disposition of
 Class B Common Shares by a holder thereof to any of the following shall be exempt from, and not trigger, the automatic conversion
 contemplated under this Article 6(d)(iii): (i) a Founder or a Founder’s Affiliate or (ii) to a limited partner or a shareholder of such
 holder.
    (iv) For the avoidance of doubt, a transfer shall be effective upon the Company’s registration of such transfer in its Register of
 Members. For purposes of Article 6(d)(iii) and Article 6(d)(iv), “beneficial ownership” shall have the meaning defined in Rule 13d-3
 under the U.S. Securities Exchange Act of 1934, as amended.
     (v) Any conversion of Class B Common Shares into Class A Common Shares pursuant to these Articles shall be effected by means
 of the re-designation of the relevant Class B Common Share as a Class A Common Share. Such conversion shall become effective
 forthwith upon entries being made in the Register of Members to record the re-designation of the relevant Class B Common Shares as
 Class A Common Shares.
    (vi) Save and except for voting rights and conversion rights as set out in Articles 6(c) and (d), the Class A Commons Shares and the
 Class B Common Shares shall rank pari passu and shall have the same rights, preferences, privileges and restrictions.


                                                             ISSUE OF SHARES
 7.      Subject to the provisions, if any, in the Memorandum of Association, these Articles and to any direction that may be given by the
         Company in a general meeting, the Directors may, in their absolute discretion and without approval of the existing Members,
         issue Shares, grant rights over existing shares or issue other securities in one or more series as they deem necessary and
         appropriate and determine the designations, powers, preferences, privileges and other rights, including dividend rights,
         conversion rights, terms of redemption and liquidation preferences, any or all of which may be greater than the powers and rights
         associated with the Shares held by existing Members, at such times and on such other terms as they think proper. The Company
         shall not issue shares in bearer form.
 7A. Without prejudice to the generality of Article 7, the Directors may, in their absolute discretion and without approval of the
     existing Members, provide, out of the unissued Shares, for series of preferred shares to be issued by the Company. Before any
     preferred shares of any such series are issued, the Directors shall fix, by resolution or resolutions, the following provisions of the
     preferred shares thereof:
         (b) the designation of such series, the number of preferred shares to constitute such series and the subscription price thereof if
             different from the par value thereof;
         (c)   whether the shares of such series shall have voting rights and, if so, the terms of such voting rights, which may be general or
               limited;

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         (d) the dividends, if any, payable on such series, whether any such dividends shall be cumulative, and, if so, from what dates,
             the conditions and dates upon which such dividends shall be payable, the preference or relation which such dividends shall
             bear to the dividends payable on any shares of any other class or any other series of preferred shares;
         (e)   whether the preferred shares of such series shall be subject to redemption by the Company, and, if so, the times, prices and
               other conditions of such redemption;
         (f)   the amount or amounts payable upon preferred shares of such series upon, and the rights of the holders of such series in, a
               voluntary or involuntary liquidation, dissolution or winding up, or upon any distribution of the assets, of the Company;
         (g) whether the preferred shares of such series shall be subject to the operation of a retirement or sinking fund and, if so, the
             extent to and manner in which any such retirement or sinking fund shall be applied to the purchase or redemption of the
             preferred shares of such series for retirement or other corporate purposes and the terms and provisions relative to the
             operation thereof;
         (h) whether the preferred shares of such series shall be convertible into, or exchangeable for, shares of any other class or any
             other series of preferred shares or any other securities and, if so, the price or prices or the rate or rates of conversion or
             exchange and the method, if any, of adjusting the same, and any other terms and conditions of conversion or exchange;
         (i)   the limitations and restrictions, if any, to be effective while any preferred shares of such series are outstanding upon the
               payment of dividends or the making of other distributions on, and upon the purchase, redemption or other acquisition by the
               Company of, the existing Shares or shares of any other class of shares or any other series of preferred shares;
         (j)   the conditions or restrictions, if any, upon the creation of indebtedness of the Company or upon the issue of any additional
               shares, including additional shares of such series or of any other class of shares or any other series of preferred shares; and
         (k) any other powers, preferences and relative, participating, optional and other special rights, and any qualifications,
             limitations and restrictions thereof.

         Without limiting the foregoing and subject to Article 78, the voting powers of any series of preferred shares may include the
         right, in the circumstances specified in the resolution or resolutions providing for the issuance of such preferred shares, to elect
         one or more Directors who shall serve for such term and have such voting powers as shall be stated in the resolution or
         resolutions providing for the issuance of such preferred shares. The term of office and voting powers of any Director elected in
         the manner provided in the immediately preceding sentence of this Article 7A may be greater than or less than those of any other
         Director or class of Directors.
 7B The powers, preferences and relative, participating, optional and other special rights of each series of preferred shares, and the
    qualifications, limitations or restrictions thereof, if any, may differ from those of any and all other series at any time outstanding.
    All shares of any one series of preferred shares shall be identical in all respects with all other shares of such series, except that
    shares of any one series issued at different times may differ as to the dates from which dividends thereon shall be cumulative.

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                                        REGISTER OF MEMBERS AND SHARE CERTIFICATES
 8.      The Company shall maintain a Register of Members and a Member shall only be entitled to a share certificate if the Directors
         resolve that share certificates shall be issued. Share certificates (if any) shall specify the share or shares held by that person and
         the amount paid up thereon, provided that in respect of a share or shares held jointly by several persons the Company shall not be
         bound to issue more than one certificate, and delivery of a certificate for a share to one of several joint holders shall be sufficient
         delivery to all. All certificates for shares shall be delivered personally or sent through the post addressed to the Member entitled
         thereto at the Member’s registered address as appearing in the Register of Members.
 9.      All share certificates shall bear legends required under the applicable laws, including the Securities Act.
 10. Any two or more certificates representing shares of any one class held by any Member may at the Member’s request be cancelled
     and a single new certificate for such shares issued in lieu on payment (if the Directors shall so require) of US$1.00 or such
     smaller sum as the Directors shall determine.
 11. If a share certificate shall be damaged or defaced or alleged to have been lost, stolen or destroyed, a new certificate representing
     the same shares may be issued to the relevant Member upon request subject to delivery up of the old certificate or (if alleged to
     have been lost, stolen or destroyed) compliance with such conditions as to evidence and indemnity and the payment of out-of-
     pocket expenses of the Company in connection with the request as the Directors may think fit.
 12. In the event that shares are held jointly by several persons, any request may be made by any one of the joint holders and if so
     made shall be binding on all of the joint holders.


                                                           TRANSFER OF SHARES
 13. (a)      Shares of the Company are transferable; provided that the Board may, in its sole discretion, decline to register any transfer
              of any share which is not fully paid up or on which the Company has a lien.
         (b) The Directors may also decline to register any transfer of any share unless:
              (i)   the instrument of transfer is lodged with the Company, accompanied by the certificate for the shares to which it relates
                    and such other evidence as the Board may reasonably require to show the right of the transferor to make the transfer;
              (ii) the shares transferred are free of any lien in favor of the Company;
              (iii) the instrument of transfer is in respect of only one class of shares;
              (iv) the instrument of transfer is properly stamped, if required;
              (v) in the case of a transfer to joint holders, the number of joint holders to whom the share is to be transferred does not
                  exceed four; and

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               (vi) a fee of such maximum sum as the New York Stock Exchange may determine to be payable, or such lesser sum as the
                    Board may from time to time require, is paid to the Company in respect thereof.
         (c)   If the Directors refuse to register a transfer they shall, within two months after the date on which the instrument of transfer
               was lodged, send to each of the transferor and the transferee notice of such refusal.
         (d) Any one of the Directors shall have the power and authority to renounce the Company’s discretion to refuse to register a
             transfer of shares under this Article 13 and to approve and accept a transfer of shares. Any such approval may be given in
             writing by any one Director, and shall be as valid and effective as if given by the Board.
 14. The registration of transfers may, on fourteen (14) days’ notice being given by advertisement in such one or more newspapers or
     by electronic means, be suspended and the register closed at such times and for such periods as the Board may from time to time
     determine.
 15. The instrument of transfer of any share shall be in writing and executed by or on behalf of the transferor (and if the Directors so
     require, signed by the transferee). Without prejudice to the last preceding Article, the Board may also resolve, either generally or
     in any particular case, upon request by either the transferor or transferee, to accept mechanically executed transfers. The
     transferor shall be deemed to remain a holder of the share until the name of the transferee is entered in the Register of Members.
 16. All instruments of transfer registered may be retained by the Company.


                                           REDEMPTION AND PURCHASE OF OWN SHARES
 17. Subject to the provisions of the Statutes and these Articles, the Company may:
         (a)   issue shares on terms that such shares are to be redeemed or are liable to be redeemed at the option of the Company or the
               Member and the redemption of shares shall be effected on such terms and in such manner as the Board may, before the issue
               of such shares, determine;
         (b) purchase its own shares (including any redeemable shares) provided that the Members shall have approved the manner of
             purchase by ordinary resolution or the manner of purchase is in accordance with the Articles 18 and 18A (this authorization
             being in accordance with section 37(2) of the Companies Law or any modification or re-enactment thereof for the time
             being in force); and
         (c)   make a payment in respect of the redemption or purchase of its own shares in any manner permitted by the Statutes,
               including out of capital.
 18. Purchase of shares represented by American Depositary Shares listed on the New York Stock Exchange: the Company is
     authorised to purchase any Share represented by American Depositary Shares listed on the New York Stock Exchange in
     accordance with the following manner of purchase:

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         (b) the maximum number of shares that may be repurchased shall be equal to the number of issued and outstanding shares less
             one share; and
         (c)   the repurchase shall be at such time, at such price and on such other terms as determined and agreed by the Board in their
               sole discretion; provided, however, that:
               (i)   such repurchase transactions shall be in accordance with the relevant code, rules and regulations applicable to the
                     listing of the American Depositary Shares on the New York Stock Exchange; and
               (ii) at the time of the repurchase, the Company is able to pay its debts as they fall due in the ordinary course of its
                    business.
 18A. Purchase of shares not represented by American Depositary Shares listed on the New York Stock Exchange: the Company is
      authorized to purchase any shares not represented by American Depositary Shares listed on the New York Stock Exchange in
      accordance with the following manner of purchase:
         (a)   the Company shall serve a repurchase notice in a form approved by the Board on the Member from whom the shares are to
               be repurchased at least two business days prior to the date specified in the notice as being the repurchase date;
         (b) the price for the shares being repurchased shall be such price agreed between the Board and the applicable Member;
         (c)   the date of repurchase shall be the date specified in the repurchase notice; and
         (d) the repurchase shall be on such other terms as specified in the repurchase notice as determined and agreed by the Board and
             the applicable Member in their sole discretion.
 19. The redemption or purchase of any share shall not be deemed to give rise to the redemption or purchase of any other share and
     the Company is not obligated to purchase any other share other than as may be required pursuant to applicable law and any other
     contractual obligations of the Company.
 20. The holder of the shares being purchased or redeemed shall be bound to deliver up to the Company the certificate(s) (if any)
     thereof for cancellation and thereupon the Company shall pay to him the purchase or redemption monies or consideration in
     respect thereof.


                                           VARIATION OF RIGHTS ATTACHING TO SHARES
 21. If at any time the share capital is divided into different classes or series of shares, the rights attaching to any class or series
     (unless otherwise provided by the terms of issue of the shares of that class or series) may, subject to these Articles, be varied or
     abrogated with the consent in writing of the holders of a majority of the issued shares of that class or series or with the sanction
     of a Special Resolution passed at a general meeting of the holders of the shares of that class or series.

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 22. The provisions of these Articles relating to general meetings shall apply to every such general meeting of the holders of one class
     or series of shares except for the following:
         (a)   separate general meetings of the holders of a class or series of shares may be called only by (i) the Chairman of the Board,
               or (ii) a majority of the entire Board of Directors (unless otherwise specifically provided by the terms of issue of the shares
               of such class or series). Nothing in this Article 22 or Article 21 shall be deemed to give any Member or Members the right
               to call a class or series meeting.
         (b) the necessary quorum shall be one or more persons holding or representing by proxy at least one-third of the issued shares
             of the class or series and that any holder of shares of the class or series present in person or by proxy may demand a poll.
 23. The rights conferred upon the holders of the shares of any class or series issued with preferred or other rights shall not, unless
     otherwise expressly provided by the terms of issue of the shares of that class or series, be deemed to be varied by the creation or
     issue of further shares ranking in priority to or pari passu therewith.


                                                   COMMISSION ON SALE OF SHARES
 24. The Company may, in so far as the Statutes from time to time permit, pay a commission to any person in consideration of his
     subscribing or agreeing to subscribe whether absolutely or conditionally for any shares of the Company. Such commissions may
     be satisfied by the payment of cash or the lodgement of fully or partly paid-up shares or partly in one way and partly in the other.
     The Company may also on any issue of shares pay such brokerage as may be lawful.


                                                     NON-RECOGNITION OF TRUSTS
 25. No person shall be recognised by the Company as holding any share upon any trust and the Company shall not be bound by or be
     compelled in any way to recognise (even when having notice thereof) any equitable, contingent, future, or partial interest in any
     share, or any interest in any fractional part of a share, or (except only as is otherwise provided by these Articles or the Statutes)
     any other rights in respect of any share except an absolute right to the entirety thereof in the registered holder.


                                                              LIEN ON SHARES
 26. The Company shall have a first and paramount lien and charge on all shares (whether fully paid-up or not) registered in the name
     of a Member (whether solely or jointly with others) for all debts, liabilities or engagements to or with the Company (whether
     presently payable or not) by such Member or his estate, either alone or jointly with any other person, whether a Member or not,
     but the Directors may at any time declare any share to be wholly or in part exempt from the provisions of this Article. The
     registration of a transfer of any such share shall operate as a waiver of the Company’s lien (if any) thereon. The Company’s lien
     (if any) on a share shall extend to all dividends or other monies payable in respect thereof.
 27. The Company may sell, in such manner as the Directors think fit, any shares on which the Company has a lien, but no sale shall
     be made unless some sum in respect of which the lien exists is presently payable nor until the expiration of fourteen (14) calendar
     days after a notice in writing, stating and demanding payment of such part

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         of the amount in respect of which the lien exists as is presently payable, has been given to the registered holder for the time being
         of the share, or the persons entitled thereto by reason of his death or bankruptcy.
 28. To give effect to any such sale, the Directors may authorise some person to transfer the shares sold to the purchaser thereof. The
     purchaser shall be registered as the holder of the shares comprised in any such transfer and he shall not be bound to see to the
     application of the purchase money, nor shall his title to the shares be affected by any irregularity or invalidity in the proceedings
     in reference to the sale.
 29. The proceeds of the sale shall be received by the Company and applied in payment of such part of the amount in respect of which
     the lien exists as is presently payable, and the residue shall (subject to a like lien for sums not presently payable as existed upon
     the shares prior to the sale) be paid to the person entitled to the shares at the date of the sale.


                                                            CALLS ON SHARES
 30. Subject to the terms of allotment, the Directors may from time to time make calls upon the Members in respect of any money
     unpaid on their shares, and each Member shall (subject to receiving at least fourteen (14) calendar days’ notice specifying the
     time or times of payment) pay to the Company at the time or times so specified the amount called on his shares. A call shall be
     deemed to have been made at the time when the resolution of the Directors authorising such call was passed.
 31. The joint holders of a share shall be jointly and severally liable to pay calls in respect thereof.
 32. If a sum called in respect of a share is not paid before or on the day appointed for payment thereof, the person from whom the
     sum is due shall pay interest upon the sum at the rate of eight percent per annum from the day appointed for the payment thereof
     to the time of the actual payment, but the Directors shall be at liberty to waive payment of that interest wholly or in part.
 33. The provisions of these Articles as to the liability of joint holders and as to payment of interest shall apply in the case of non-
     payment of any sum which, by the terms of issue of a share, becomes payable at a fixed time, whether on account of the amount
     of the share, or by way of premium, as if the same had become payable by virtue of a call duly made and notified.
 34. The Directors may make arrangements on the issue of shares for a difference between the Members, or the particular shares, in
     the amount of calls to be paid and in the times of payment.
 35. The Directors may, if they think fit, receive from any Member willing to advance the same all or any part of the moneys uncalled
     and unpaid upon any shares held by him, and upon all or any of the moneys so advanced may (until the same would, but for such
     advance, become presently payable) pay interest at such rate (not exceeding without the sanction of an Ordinary Resolution, eight
     percent per annum) as may be agreed upon between the Member paying the sum in advance and the Directors. No such sum paid
     in advance of calls shall entitle the Member paying such sum to any portion of a dividend declared in respect of any period prior
     to the date upon which such sum would, but for such payment, become presently payable.


                                                         FORFEITURE OF SHARES

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 36. If a Member fails to pay any call or instalment of a call on the day appointed for payment thereof, the Directors may, at any time
     thereafter during such time as any part of such call or instalment remains unpaid, serve a notice on him requiring payment of so
     much of the call or instalment as is unpaid, together with any interest which may have accrued.
 37. The notice shall name a further day (not earlier than the expiration of fourteen (14) calendar days from the date of the notice) on
     or before which the payment required by the notice is to be made, and shall state that in the event of non-payment at or before the
     time appointed the shares in respect of which the call was made will be liable to be forfeited.
 38. If the requirements of any such notice as aforesaid are not complied with, any share in respect of which the notice has been given
     may at any time thereafter, before the payment required by notice has been made, be forfeited by a resolution of the Directors to
     that effect.
 39. A forfeited share may be sold or otherwise disposed of on such terms and in such manner as the Directors think fit, and at any
     time before a sale or disposition the forfeiture may be cancelled on such terms as the Directors think fit.
 40. A person whose shares have been forfeited shall cease to be a Member in respect of the forfeited shares, but shall,
     notwithstanding the forfeiture, remain liable to pay to the Company all moneys which at the date of forfeiture were payable by
     him to the Company in respect of the shares, but his liability shall cease if and when the Company receives payment in full of the
     fully paid up amount of the shares.
 41. A certificate in writing under the hand of a Director of the Company, that a share has been forfeited on a date stated in the
     certificate, shall be conclusive evidence of the facts therein stated as against all persons claiming to be entitled to the share. The
     Company may receive the consideration, if any, given for the share or any sale or disposition thereof and may execute a transfer
     of the share in favour of the person to whom the share is sold or disposed of and he shall thereupon be registered as the holder of
     the share, and shall not be bound to see to the application of the purchase money, if any, nor shall his title to the share be affected
     by any irregularity or invalidity in the proceedings in reference to the forfeiture, sale or disposal of the share.
 42. The provisions of these Articles as to forfeiture shall apply in the case of non-payment of any sum which by the terms of issue of
     a share becomes due and payable, whether on account of the amount of the par value of the share, or by way of premium, as if the
     same had been payable by virtue of a call duly made and notified.


                                        REGISTRATION OF EMPOWERING INSTRUMENTS
 43. The Company shall be entitled to charge a fee not exceeding one dollar (US$1.00) on the registration of every probate, letters of
     administration, certificate of death or marriage, power of attorney, notice in lieu of distringas, or other instrument.


                                                      TRANSMISSION OF SHARES
 44. The legal personal representative of a deceased sole holder of a share shall be the only person recognised by the Company as
     having any title to the share. In the case of a share registered in the name of two or more holders, the survivors or survivor, or the
     legal personal representatives of the deceased survivor, shall be the only person recognised by the Company as having any title to
     the share.

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 45. Any person becoming entitled to a share in consequence of the death or bankruptcy of a Member shall upon such evidence being
     produced as may from time to time be properly required by the Directors, have the right either to be registered as a Member in
     respect of the share or, instead of being registered himself, to make such transfer of the share as the deceased or bankrupt person
     could have made. If the person so becoming entitled shall elect to be registered himself as holder he shall deliver or send to the
     Company a notice in writing signed by him stating that he so elects.
 46. A person becoming entitled to a share by reason of the death or bankruptcy of the holder shall be entitled to the same dividends
     and other advantages to which he would be entitled if he were the registered holder of the share, except that he shall not, before
     being registered as a Member in respect of the share, be entitled in respect of it to exercise any right conferred by membership in
     relation to meetings of the Company, provided however, that the Directors may at any time give notice requiring any such person
     to elect either to be registered himself or to transfer the share, and if the notice is not complied with within ninety (90) calendar
     days, the Directors may thereafter withhold payment of all dividends, bonuses or other monies payable in respect of the share
     until the requirements of the notice have been complied with.


                                                        ALTERATION OF CAPITAL
 47. The Company may by Ordinary Resolution:
         (a)   increase the share capital by such sum, to be divided into shares of such classes and amount, as the resolution shall
               prescribe;
         (b) consolidate and divide all or any of its share capital into shares of larger amount than its existing shares;
         (c)   sub-divide its existing shares or any of them into shares of a smaller amount provided that in the subdivision the proportion
               between the amount paid and the amount, if any unpaid on each reduced share shall be the same as it was in case of the
               share from which the reduced share is derived; and
         (d) cancel any shares which, at the date of the passing of the resolution, have not been taken or agreed to be taken by any
             person and diminish the amount of its share capital by the amount of the shares so cancelled.
 48. Subject to the provisions of the Statutes and these Articles as regards to the matters to be dealt with by Ordinary Resolution, the
     Company may by Special Resolution:
         (a)   change its name;
         (b) alter or add to these Articles;
         (c)   alter or add to the Memorandum of Association with respect to any objects, powers or other matters specified therein; and
         (d) reduce its share capital and any capital redemption reserve in any manner authorized by law.
 49. All new shares created hereunder shall be subject to the same provisions with reference to the payment of calls, liens, transfer,
     transmission, forfeiture and otherwise as the shares in the original share capital.

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                                 CLOSING REGISTER OF MEMBERS OR FIXING RECORD DATE
 50. For the purpose of determining those Members that are entitled to receive notice of, attend or vote at any meeting of Members or
     any adjournment thereof, or those Members that are entitled to receive payment of any dividend, or in order to make a
     determination as to who is a Member for any other purpose, the Directors may provide that the Register of Members shall be
     closed for transfers for a stated period but not to exceed in any case thirty (30) calendar days. If the Register of Members shall be
     so closed for the purpose of determining those Members that are entitled to receive notice of, attend or vote at a meeting of
     Members such register shall be so closed for at least ten (10) calendar days immediately preceding such meeting and the record
     date for such determination shall be the date of the closure of the Register of Members.
 51. In lieu of or apart from closing the Register of Members, the Directors may fix in advance a date as the record date for any such
     determination of those Members that are entitled to receive notice of, attend or vote at a meeting of the Members and for the
     purpose of determining those Members that are entitled to receive payment of any dividend, the Directors may, at or within 30
     calendar days prior to the date of declaration of such dividend fix a subsequent date as the record date of such determination.
 52. If the Register of Members is not so closed and no record date is fixed for the determination of those Members entitled to receive
     notice of, attend or vote at a meeting of Members or those Members that are entitled to receive payment of a dividend, the date on
     which notice of the meeting is posted or the date on which the resolution of the Directors declaring such dividend is adopted, as
     the case may be, shall be the record date for such determination of Members. When a determination of those Members that are
     entitled to receive notice of, attend or vote at a meeting of Members has been made as provided in this section, such
     determination shall apply to any adjournment thereof.


                                                          GENERAL MEETINGS
 53. All general meetings of the Company other than annual general meetings shall be called extraordinary general meetings.
 54. (a)       The Company may hold an annual general meeting and shall specify the meeting as such in the notices calling it. The
               annual general meeting shall be held at such time and place as the Directors shall determine.
         (b) At these meetings the report of the Directors (if any) shall be presented.
 55. The Directors may call general meetings, and they shall on a Members requisition forthwith proceed to convene an extraordinary
     general meeting of the Company.
         (b) A Members requisition is a requisition of Members of the Company holding at the date of deposit of the requisition not less
             than one-third in par value of the share capital of the Company as at that date carries the right of voting at general meetings
             of the Company.
         (c)   The requisition must state the objects of the meeting and must be signed by the requisitionists and deposited at the
               Company’s principal place of business (with a copy sent to the Registered Office), and may consist of several documents in
               like form each signed by one or more requisitionists.

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         (d) If the Directors do not within 21 calendar days from the date of the deposit of the requisition duly proceed to convene a
             general meeting to be held within a further 21 calendar days, the requisitionists, or any of them representing more than one
             half of the total voting rights of all of them, may themselves convene a general meeting, but any meeting so convened shall
             not be held after the expiration of three months after the expiration of the second said 21 calendar days.
         (e)   A general meeting convened as aforesaid by requisitionists shall be convened in the same manner as nearly as possible as
               that in which general meetings are to be convened by Directors.


                                                    NOTICE OF GENERAL MEETINGS
         55A At least seven calendar days’ notice shall be given for any general meeting. Every notice shall be exclusive of the day on
         which it is given or deemed to be given and of the day for which it is given and shall specify the place, the day and the hour of
         the meeting and the general nature of the business and shall be given in the manner hereinafter mentioned or in such other
         manner if any as may be prescribed by the Company, provided that a general meeting of the Company shall, whether or not the
         notice specified in this regulation has been given and whether or not the provisions of these Articles regarding general meetings
         have been complied with, be deemed to have been duly convened if it is so agreed:
         (a)   in the case of an annual general meeting by all the Members (or their proxies) entitled to attend and vote thereat; and
         (b) in the case of an extraordinary general meeting by a majority in number of the Members (or their proxies) having a right to
             attend and vote at the meeting, being a majority together holding not less than ninety five percent in par value of the shares
             giving that right.
 56. The accidental omission to give notice of a meeting to or the non-receipt of a notice of a meeting by any Member shall not
     invalidate the proceedings at any meeting.


                                               PROCEEDINGS AT GENERAL MEETINGS
 57. No business shall be transacted at any general meeting unless a quorum of Members is present at the time when the meeting
     proceeds to business. At least one Member holding not less than an aggregate of one-third of all voting share capital of the
     Company in issue present in person or by proxy and entitled to vote shall be a quorum for all purposes.
 58. If determined by the Board of Directors and specified in the notice of a general meeting, a person may participate at a general
     meeting by conference telephone or other communications equipment by means of which all the persons participating in the
     meeting can communicate with each other. Participation by a person in a general meeting in this manner is treated as presence in
     person at that meeting.
 59. If within half an hour from the time appointed for the meeting a quorum is not present, the meeting, if convened upon the
     requisition of Members, shall be dissolved. In any other case it shall stand adjourned to the same day in the next week, at the
     same time and place, and if at the adjourned meeting a quorum is not present within half an hour from the time appointed for the
     meeting, the meeting shall be dissolved.

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 60.     The Chairman of the Board of Directors shall preside as chairman at every general meeting of the Company, except as provided
         in Article 61 below.
 61.     If at any meeting the Chairman of the Board of Directors is not present within fifteen minutes after the time appointed for
         holding the meeting or is unwilling to act as chairman, the Members present shall choose a chairman of the meeting.
 62.     The chairman of a general meeting may with the consent of any meeting at which a quorum is present (and shall if so directed
         by the meeting) adjourn a meeting from time to time and from place to place, but no business shall be transacted at any
         adjourned meeting other than the business left unfinished at the meeting from which the adjournment took place. When a
         meeting is adjourned for 10 calendar days or more, not less than seven (7) Business Days’ notice of the adjourned meeting shall
         be given as in the case of an original meeting. Save as aforesaid it shall not be necessary to give any notice of an adjournment or
         of the business to be transacted at an adjourned meeting.
 63.     At any general meeting a resolution put to the vote of the meeting shall be decided on a show of hands, unless a poll is (before or
         on the declaration of the result of the show of hands) demanded by one or more Members present in person or by proxy entitled
         to vote and who together hold not less than 10 percent of the paid up voting share capital of the Company, and unless a poll is so
         demanded, a declaration by the chairman that a resolution has, on a show of hands, been carried, or carried unanimously, or by a
         particular majority, or lost, and an entry to that effect in the book of the proceedings of the Company, shall be conclusive
         evidence of the fact, without proof of the number or proportion of the votes recorded in favour of, or against, that resolution.
 64.     If a poll is duly demanded it shall be taken in such manner as the chairman directs, and the result of the poll shall be deemed to
         be the resolution of the meeting at which the poll was demanded. The demand for a poll may be withdrawn.
 65.     In the case of an equality of votes, whether on a show of hands or on a poll, the chairman of the meeting at which the show of
         hands takes place or at which the poll is demanded, shall not be entitled to a second or casting vote.
 66.     A poll demanded on the election of a chairman or on a question of adjournment shall be taken forthwith. A poll demanded on
         any other question shall be taken at such time as the chairman of the meeting directs.
 66A. A resolution (including a Special Resolution) in writing (in one or more counterparts) signed by or on behalf of all of the
      Members for the time being entitled to receive notice of and to attend and vote at general meetings (or, being corporations or
      other non-natural persons, signed by their duly authorized representatives) shall be as valid and effective as if the resolution had
      been passed at a general meeting of the Company duly convened and held.


                                                          VOTES OF MEMBERS
 67. Subject to any rights and restrictions for the time being attached to any class or classes of shares, every Member present in person
     and every person representing a Member by proxy at a general meeting of the Company shall have one vote for each share
     registered in his name in the Register of Members.

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 68. In the case of joint holders the vote of the senior who tenders a vote whether in person or by proxy shall be accepted to the
     exclusion of the votes of the joint holders and for this purpose seniority shall be determined by the order in which the names
     stand in the Register of Members.
 69. A Member of unsound mind, or in respect of whom an order has been made by any court having jurisdiction in lunacy, may vote,
     whether on a show of hands or on a poll, by his committee, or other person in the nature of a committee appointed by that court,
     and any such committee or other person, may on a poll, vote by proxy.
 70. No Member shall be entitled to vote at any general meeting unless all calls or other sums presently payable by him in respect of
     shares in the Company have been paid.
 71. On a poll, votes may be given either personally or by proxy.
 72. The instrument appointing a proxy shall be in writing under the hand of the appointor or of his attorney duly authorized in writing
     or, if the appointor is a corporation, either under seal or under the hand of an officer or attorney duly authorized. A proxy need
     not be a Member of the Company.
 73. An instrument appointing a proxy may be in any usual or common form or such other form as the Directors may approve. The
     instrument appointing a proxy shall be deemed to confer authority to demand or join in demanding a poll.
 74. The instrument appointing a proxy shall be deposited at the registered office or at such other place as is specified for that purpose
     in the notice convening the meeting, or in any instrument of proxy sent out by the Company:
         (a)   not less than 48 hours before the time for holding the meeting or adjourned meeting at which the person named in the
               instrument proposes to vote; or
         (b) in the case of a poll taken more than 48 hours after it is demanded, be deposited as aforesaid after the poll has been
             demanded and not less than 24 hours before the time appointed for the taking of the poll; or
         (c)   where the poll is not taken forthwith but is taken not more than 48 hours after it was demanded be delivered at the meeting
               at which the poll was demanded to the chairman or to the secretary or to any director;
         provided that the Directors may in the notice convening the meeting, or in an instrument of proxy sent out by the Company, direct
         that the instrument appointing a proxy may be deposited (no later than the time for holding the meeting or adjourned meeting) at
         the registered office or at such other place as is specified for that purpose in the notice convening the meeting, or in any
         instrument of proxy sent out by the Company. The Chairman may in any event at his discretion direct that an instrument of proxy
         shall be deemed to have been duly deposited. An instrument of proxy that is not deposited in the manner permitted shall be
         invalid.
 75. Votes given in accordance with the terms of an instrument of proxy shall be valid notwithstanding the previous death or insanity
     of the principal or revocation of the proxy or of the authority under which the proxy was executed, or the transfer of the share in
     respect of which the proxy is given unless notice in writing of such death, insanity, revocation or transfer was received by the
     Company before the commencement of the general meeting, or adjourned meeting at which it is sought to use the proxy.

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                                 CORPORATIONS ACTING BY REPRESENTATIVES AT MEETING
 76. Any corporation which is a Member or a Director may by resolution of its directors or other governing body authorise such
     person as it thinks fit to act as its representative at any meeting of the Company or of any class of Members or of the Board of
     Directors or of a committee of Directors, and the person so authorized shall be entitled to exercise the same powers on behalf of
     the corporation which he represents as that corporation could exercise if it were an individual Member or Director.


                                                            CLEARING HOUSES
 77. If a clearing house (or its nominee) is a Member of the Company it may, by resolution of its directors or other governing body or
     by power of attorney, authorise such person or persons as it thinks fit to act as its representative or representatives at any general
     meeting of the Company or at any general meeting of any class of Members of the Company provided that, if more than one
     person is so authorized, the authorisation shall specify the number and class of shares in respect of which each such person is so
     authorized. A person so authorized pursuant to this provision shall be entitled to exercise the same powers on behalf of the
     clearing house (or its nominee) which he represents as that clearing house (or its nominee) could exercise if it were an individual
     member of the Company holding the number and class of shares specified in such authorisation.


                                                                DIRECTORS
 78. (a)       The Board shall consist of not less than seven (7) Directors (exclusive of alternate Directors), provided that the Company
               may from time to time by Ordinary Resolution increase or decrease the number of Directors on the Board.
         (b) Each Director shall hold office until the expiration of his term and until his successor shall have been elected and qualified.
             The Board of Directors shall have a Chairman of the Board of Directors (the “Chairman”) elected and appointed by two-
             thirds (2/3) of the Directors then in office, which constitutes a super majority; a similar super majority is also required to
             remove the Chairman at any time. The Directors may also elect a Co-Chairman or a Vice-Chairman of the Board of
             Directors (the “Co-Chairman”). The Chairman shall preside as chairman at every meeting of the Board of Directors. To the
             extent the Chairman is not present at a meeting of the Board of Directors, the Co-Chairman, or in his absence, the attending
             Directors may choose one Director to be the chairman of the meeting. The Chairman’s voting right as to the matters to be
             decided by the Board of Directors shall be the same as other Directors. Subject to these Articles and the Companies Law,
             the Company may by Ordinary Resolution elect any person to be a Director either to fill a casual vacancy on the Board or as
             an addition to the existing Board. The Directors by the affirmative vote of a simple majority of the remaining Directors
             present and voting at a Board meeting, or the sole remaining Director, shall have the power from time to time and at any
             time to appoint any person as a Director to fill a casual vacancy on the Board or as an addition to the existing Board, subject
             to the Company’s compliance with director nomination procedures required under applicable New York Stock Exchange
             corporate governance rules, as long as the Company’s American Depositary Shares are trading on the New York Stock
             Exchange.
         (c)   A Director may be removed from office by Special Resolution at any time before the expiration of his term notwithstanding
               any agreement between the Company and such Director (but without prejudice to any claim for damages under such
               agreement).
         (d) A vacancy on the Board created by the removal of a Director may be filled by the election or appointment by Ordinary
             Resolution at the meeting at which such Director is removed or by the

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            affirmative vote of a simple majority of the remaining Directors present and voting at a duly called and constituted Board
            meeting. Notwithstanding anything to the contrary in these Articles, any persons entitled to designate any individual to be
            elected as a director of the Board pursuant to the Article 78(b) above shall have the right to remove any such director
            occupying such position and to fill any vacancy caused by the death, disability, retirement, resignation or removal of any
            director occupying such position during the periods specified in Article 78(b). If a vacancy is created on the Board at any
            time by the death, disability, retirement, resignation or removal of any director designated pursuant to the above
            Article 78(b), the replacement to fill such vacancy shall be designated in the same manner, in accordance with this
            Article 78(b), as the director whose seat was vacated.
 79. The Board may, from time to time, and except as required by applicable law or the listing rules of the recognized stock exchange
     or automated quotation system where the Company’s securities are traded, adopt, institute, amend, modify or revoke the
     corporate governance policies or initiatives, which shall be intended to set forth the policies of the Company and the Board on
     various corporate governance related matters as the Board shall determine by resolution from time to time.
 80. A Director shall not be required to hold any shares in the Company by way of qualification. A Director who is not a Member of
     the Company shall nevertheless be entitled to receive notice of and to attend and speak at general meetings of the Company and
     all classes of shares of the Company.


                                                  DIRECTORS’ FEES AND EXPENSES
 81. The Directors may receive such remuneration as the Board may from time to time determine. The Directors may be entitled to be
     repaid all traveling, hotel and incidental expenses reasonably incurred or expected to be incurred by him in attending meetings of
     the Board or committees of the Board or general meetings or separate meetings of any class of shares or of debentures of the
     Company or otherwise in connection with the discharge of his duties as a Director.
 82. Any Director who, by request, goes or resides abroad for any purpose of the Company or who performs services which in the
     opinion of the Board go beyond the ordinary duties of a Director may be paid such extra remuneration (whether by way of salary,
     commission, participation in profits or otherwise) as the Board may determine and such extra remuneration shall be in addition to
     or in substitution for any ordinary remuneration provided for by or pursuant to any other Article.


                                                        ALTERNATE DIRECTOR
 83. Any Director may in writing appoint another person to be his alternate to act in his place at any meeting of the Directors at which
     he is unable to be present. Every such alternate shall be entitled to notice of meetings of the Directors and to attend and vote
     thereat as a Director when the person appointing him is not personally present and where he is a Director to have a separate vote
     on behalf of the Director he is representing in addition to his own vote. A Director may at any time in writing revoke the
     appointment of an alternate appointed by him. Such alternate shall be deemed for all purposes to be a Director and shall not be
     deemed to be the agent of the Director appointing him. An alternate Director shall cease to be an alternate Director if his
     appointor ceases to be a Director.
 84. Any Director may appoint any person, whether or not a Director, to be the proxy of that Director to attend and vote on his behalf,
     in accordance with instructions given by that Director, or in the absence of such instructions at the discretion of the proxy, at a
     meeting or meetings of the Directors which that Director is unable to attend

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         personally. The instrument appointing the proxy shall be in writing under the hand of the appointing Director and shall be in any
         usual or common form or such other form as the Directors may approve, and must be lodged with the Chairman prior to the
         commencement of the meeting.


                                                POWERS AND DUTIES OF DIRECTORS
 85. Subject to the provisions of the Companies Law, these Articles and to any resolutions made in a general meeting, the business of
     the Company shall be managed by the Directors, who may pay all expenses incurred in setting up and registering the Company
     and may exercise all powers of the Company. No resolution made by the Company in a general meeting shall invalidate any prior
     act of the Directors that would have been valid if that resolution had not been made.
 86. Subject to these Articles, the Directors may from time to time appoint any person, whether or not a Director of the Company, to
     hold such office in the Company as the Directors may think necessary for the administration of the Company, including without
     prejudice to the foregoing generality, the office of the Chief Executive Officer, one or more Vice Presidents, Chief Financial
     Officer, Chief Operating Officer, Chief Technology Officer or Controller, and for such term and at such remuneration (whether by
     way of salary or commission or participation in profits or partly in one way and partly in another), and with such powers and
     duties as the Directors may think fit. The Directors may also appoint one or more of their body (but not an alternate Director) to
     the office of Managing Director upon like terms, but any such appointment shall ipso facto determine if any Managing Director
     ceases from any cause to be a Director, or if the Company by Ordinary Resolution resolves that his tenure of office be terminated.
 87. The Directors may delegate any of their powers to committees consisting of such member or members of their body as they think
     fit; any committee so formed shall in the exercise of the powers so delegated conform to any regulations that may be imposed on
     it by the Directors.
 88. The Directors may from time to time and at any time by power of attorney appoint any company, firm or person or body of
     persons, whether nominated directly or indirectly by the Directors, to be the attorney or attorneys of the Company for such
     purposes and with such powers, authorities and discretion (not exceeding those vested in or exercisable by the Directors under
     these Articles) and for such period and subject to such conditions as they may think fit, and any such power of attorney may
     contain such provisions for the protection and convenience of persons dealing with any such attorney as the Directors may think
     fit, and may also authorise any such attorney to delegate all or any of the powers, authorities and discretion vested in him.
 89. The Directors may from time to time provide for the management of the affairs of the Company in such manner as they shall
     think fit and the provisions contained in the following paragraphs shall be without prejudice to the general powers conferred by
     this paragraph.
 90. The Directors from time to time and at any time may establish any committees, local boards or agencies for managing any of the
     affairs of the Company and may appoint any persons to be members of such committees or local boards and may appoint any
     managers or agents of the Company and may fix the remuneration of any of the aforesaid.
 91. The Directors from time to time and at any time may delegate to any such committee, local board, manager or agent any of the
     powers, authorities and discretions for the time being vested in the Directors and may authorise the members for the time being of
     any such local board, or any of them to fill up any vacancies therein and to act notwithstanding vacancies and any such
     appointment or delegation may be made on such terms and subject

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         to such conditions as the Directors may think fit and the Directors may at any time remove any person so appointed and may
         annul or vary any such delegation, but no person dealing in good faith and without notice of any such annulment or variation
         shall be affected thereby.
 92. Any such delegates as aforesaid may be authorised by the Directors to sub-delegate all or any of the powers, authorities, and
     discretions for the time being vested to them.
 93. The Directors may exercise all the powers of the Company to borrow money and to mortgage or charge its undertaking, property
     and uncalled capital or any part thereof, to issue debentures, debenture stock and other securities whenever money is borrowed or
     as security for any debt, liability or obligation of the Company or of any third party.


                                                  DISQUALIFICATION OF DIRECTORS
 94. Notwithstanding anything in these Articles, the office of Director shall be vacated, if the Director:
         (a)   dies, becomes bankrupt or makes any arrangement or composition with his creditors;
         (b) is found to be or becomes of unsound mind;
         (c)   resigns his office by notice in writing to the Company; or
         (d) shall be removed from office pursuant to Article 78 or the Statutes.


                                                     PROCEEDINGS OF DIRECTORS
 95. The Directors may meet together (whether within or outside the Cayman Islands) for the dispatch of business, adjourn, and
     otherwise regulate their meetings and proceedings as they think fit.
 96. A Director may at any time summon a meeting of the Directors by prior notice to every other Director and alternate Director.
 97. Notice of a meeting of the Board shall be deemed to be duly given to a Director if it is given to such Director verbally (in person
     or by telephone) or otherwise communicated or sent to such Director by post, cable, telex, telecopier, facsimile, electronic mail or
     other mode of representing words in a legible form at such Director’s last known address or any other address given by such
     Director to the Company for this purpose.
 98. A Director or Directors may participate in any meeting of the Board of Directors, or of any committee appointed by the Board of
     Directors of which such Director or Directors are members, by means of conference telephone, video conference or similar
     communication equipment by way of which all persons participating in such meeting can hear each other and such participation
     shall be deemed to constitute presence in person at the meeting.
 99. The quorum necessary for the transaction of the business of the Directors may be fixed by the Directors and unless so fixed shall
     be three Directors then in office, provided that a Director and his appointed alternate

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         Director shall be considered only one person for this purpose. A meeting of the Directors at which a quorum is present when the
         meeting proceeds to business shall be competent to exercise all powers and discretions for the time being exercisable by the
         Directors. A meeting of the Directors may be held by means of telephone or teleconferencing or any other telecommunications
         facility provided that all participants are thereby able to communicate immediately by voice with all other participants.
 100. If a quorum is not present at a Board meeting within thirty (30) minutes following the time appointed for such board meeting, the
      relevant meeting shall be adjourned for a period of at least three (3) Business Days and the presence of any four (4) directors
      shall constitute a quorum at such adjourned meeting. A meeting of the Directors at which a quorum is present when the meeting
      proceeds to business shall be competent to exercise all powers and discretions for the time being exercisable by the Directors.
 101. Questions arising at any meeting of the Directors shall be decided by a majority of votes and each Director shall be entitled to
      one (1) vote in deciding matters deliberated at any meeting of the Directors.
 102. In case of equality of votes, the Chairman shall have a second or casting vote.
 103. A Director who is in any way, whether directly or indirectly, interested in a contract or arrangement or proposed contract or
      arrangement with the Company shall declare the nature of his interest at a meeting of the Directors. A general notice given to the
      Directors by any Director to the effect that he is a member, shareholder, director, partner, officer or employee of any specified
      company or firm and is to be regarded as interested in any contract or arrangement which may thereafter be made or entered into
      with that company or firm shall be deemed a sufficient declaration of interest in regard to any contract or arrangement so made or
      entered into. A Director may vote in respect of any contract or arrangement or proposed contract or arrangement notwithstanding
      that he may be interested therein and if he does so his vote shall be counted and he may be counted in the quorum at any meeting
      of the Directors at which any such contract or arrangement or proposed contract or arrangement shall come before the meeting
      for consideration.
 104. A Director may hold any other office or place of profit under the Company (other than the office of auditor) in conjunction with
      his office of Director for such period and on such terms (as to remuneration and otherwise) as the Directors may determine and
      no Director or intending Director shall be disqualified by his office from contracting with the Company either with regard to his
      tenure of any such other office or place of profit or as vendor, purchaser or otherwise, nor shall any such contract or arrangement
      entered into by or on behalf of the Company in which any Director is in any way interested, be liable to be avoided, nor shall any
      Director so contracting or being so interested be liable to account to the Company for any profit realised by any such contract or
      arrangement by reason of such Director holding that office or of the fiduciary relation thereby established. A Director,
      notwithstanding his interest, may be counted in the quorum present at any meeting whereat he or any other Director is appointed
      to hold any such office or place of profit under the Company or whereat the terms of any such appointment are arranged and he
      may vote on any such appointment or arrangement.
 105. Any Director may act by himself or his firm in a professional capacity for the Company, and he or his firm shall be entitled to
      remuneration for professional services as if he were not a Director; provided that nothing herein contained shall authorise a
      Director or his firm to act as auditor to the Company.
 106. The Directors shall cause minutes to be made in books or loose-leaf folders provided for the purpose of recording:
         (a)   all appointments of officers made by the Directors;

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         (b) the names of the Directors present at each meeting of the Directors and of any committee of the Directors; and
         (c)   all resolutions and proceedings at all meetings of the Company, and of the Directors and of committees of Directors.
 107. When the chairman of a meeting of the Directors signs the minutes of such meeting the same shall be deemed to have been duly
      held notwithstanding that all the Directors have not actually come together or that there may have been a technical defect in the
      proceedings.
 108. A resolution in writing signed by all the Directors shall be as valid and effectual as if it had been passed at a meeting of the
      Directors duly called and constituted and when signed, a resolution may consist of several documents each signed by one or
      more of the Directors.
 109. The continuing Directors may act, notwithstanding any vacancy in their body, but if and for so long as their number is reduced
      below the number fixed pursuant to these Articles as the necessary quorum of Directors, then the continuing Directors may act
      only to increase the number or to summon a general meeting of the Company, but for no other purpose.
 110. The Board may delegate any of its powers, authorities and discretions to committees, consisting of such Director or Directors and
      other persons as it thinks fit, and they may, from time to time, revoke such delegation or revoke the appointment of and discharge
      any such committees either wholly or in part, and either as to persons or purposes. Any committee so formed shall, in the
      exercise of the powers, authorities and discretions so delegated, conform to any regulations which may be imposed on it by the
      Board. A committee appointed by the Directors may elect a chairman of its meetings. If no such chairman is elected, or if at any
      meeting the chairman is not present within five minutes after the time appointed for holding the same, the members present may
      choose one of their number to be chairman of the meeting.
 111. A committee appointed by the Directors may meet and adjourn as it thinks proper. Questions arising at any meeting shall be
      determined by a majority of votes of the committee members present and in case of an equality of votes the chairman shall have
      a second or casting vote.
 112. All acts done by any meeting of the Directors or of a committee of Directors, or by any person acting as a Director, shall
      notwithstanding that it be afterwards discovered that there was some defect in the appointment of any such Director or person
      acting as aforesaid, or that they or any of them were disqualified, be as valid as if every such person had been duly appointed and
      was qualified to be a Director.


                                                       PRESUMPTION OF ASSENT
 113. A Director who is present at a meeting of the Board of Directors at which action on any Company matter is taken shall be
      presumed to have assented to the action taken unless his dissent shall be entered in the Minutes of the meeting or unless he shall
      file his written dissent from such action with the person acting as the Chairman or Secretary of the meeting before the
      adjournment thereof or shall forward such dissent by registered post to such person immediately after the adjournment of the
      meeting. Such right to dissent shall not apply to a Director who voted in favour of such action.


                                             DIVIDENDS, DISTRIBUTIONS AND RESERVE

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 114. Subject to any rights and restrictions for the time being attached to any class or classes of shares and these Articles, the Directors
      may from time to time declare dividends (including interim dividends) and other distributions on shares in issue and authorise
      payment of the same out of the funds of the Company lawfully available therefor.
 115. Subject to any rights and restrictions for the time being attached to any class or classes of shares and these Articles, the Company
      by Ordinary Resolution may declare dividends, but no dividend shall exceed the amount recommended by the Directors.
 116. The Directors may, before recommending or declaring any dividend, set aside out of the funds legally available for distribution
      such sums as they think proper as a reserve or reserves which shall, at the discretion of the Directors be applicable for meeting
      contingencies, or for equalising dividends or for any other purpose to which those funds be properly applied and pending such
      application may, at the like discretion, either be employed in the business of the Company or be invested in such investments
      (other than shares of the Company) as the Directors may from time to time think fit.
 117. Any dividend may be paid by wire transfer to the Member or by cheque sent to the registered address of the Member or person
      entitled thereto, or in the case of joint holders, to any one of such joint holders at his registered address or to such person and
      such address as the Member or person entitled, or such joint holders as the case may be, may direct. Every such cheque shall be
      made payable to the order of the person to whom it is sent or to the order of such other person as the Member or person entitled,
      or such joint holders as the case may be, may direct.
 118. The Directors when paying dividends to the Members in accordance with the foregoing provisions may make such payment
      either in cash or in specie.
 119. Dividends may be declared and paid out of profits of the Company, realised or unrealised, or from any reserve set aside from
      profits which the Directors determine is no longer needed. Dividends may also be declared and paid out of share premium
      account or any other fund or account which can be authorised for this purpose in accordance with the Companies Law.
 120. Subject to the rights of persons, if any, entitled to shares with special rights as to dividends, all dividends shall be declared and
      paid according to the amounts paid or credited as fully paid on the shares, but if and so long as nothing is paid up on any of the
      shares in the Company dividends may be declared and paid according to the amounts of the shares. No amount paid on a share in
      advance of calls shall, while carrying interest, be treated for the purposes of this Article as paid on the share.
 121. If several persons are registered as joint holders of any share, any of them may give effectual receipts for any dividend or other
      moneys payable on or in respect of the share.
 122. No dividend shall bear interest against the Company.


                                                          BOOK OF ACCOUNTS
 123. The books of account relating to the Company’s affairs shall be kept in such manner as may be determined from time to time by
      the Directors.

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 124. The books of account shall be kept at such place or places as the Directors think fit, and shall always be open to the inspection of
      the Directors.
 125. The Directors shall from time to time determine whether and to what extent and at what times and places and under what
      conditions or regulations the accounts and books of the Company or any of them shall be open to the inspection of Members not
      being Directors, and no Member (not being a Director) shall have any right of inspecting any account or book or document of the
      Company except as conferred by law or authorized by the Directors or by the Company by Ordinary Resolution.
 126. The accounts relating to the Company’s affairs shall be audited in such manner and with such financial year end as may be
      determined from time to time by the Company by Ordinary Resolution or failing any such determination by the Directors or
      failing any determination as aforesaid shall not be audited.


                                                   ANNUAL RETURNS AND FILINGS
 127. The Board shall make the requisite annual returns and any other requisite filings in accordance with the Companies Law.


                                                                   AUDIT
 128. The Directors may appoint an Auditor of the Company who shall hold office until removed from office by a resolution of the
      Directors and may fix his or their remuneration.
 129. Every Auditor of the Company shall have a right of access at all times to the books and accounts and vouchers of the Company
      and shall be entitled to require from the Directors and Officers of the Company such information and explanation as may be
      necessary for the performance of the duties of the auditors.
 130. Auditors shall, if so required by the Directors, make a report on the accounts of the Company during their tenure of office at the
      next annual general meeting following their appointment in the case of a company which is registered with the Registrar of
      Companies as an ordinary company, and at the next special meeting following their appointment in the case of a company which
      is registered with the Registrar of Companies as an exempted company, and at any time during their term of office, upon request
      of the Directors or any general meeting of the Members.


                                                                 THE SEAL
 131. The Company may, if the Directors so determine, have a Seal. The Seal of the Company shall not be affixed to any instrument
      except by the authority of a resolution of the Board of Directors provided always that such authority may be given prior to or
      after the affixing of the Seal and if given after may be in general form confirming a number of affixings of the Seal. The Seal
      shall be affixed in the presence of any one or more persons as the Directors may appoint for the purpose and every person as
      aforesaid shall sign every instrument to which the Seal of the Company is so affixed in their presence.
 132. The Company may maintain a facsimile of its Seal in such countries or places as the Directors may appoint and such facsimile
      Seal shall not be affixed to any instrument except by the authority of a resolution of the Board of Directors provided always that
      such authority may be given prior to or after the affixing of such facsimile Seal

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         and if given after may be in general form confirming a number of affixings of such facsimile Seal. The facsimile Seal shall be
         affixed in the presence of such person or persons as the Directors shall for this purpose appoint and such person or persons as
         aforesaid shall sign every instrument to which the facsimile Seal of the Company is so affixed in their presence of and the
         instrument signed by a Director or the Secretary (or an Assistant Secretary) of the Company or in the presence of any one or
         more persons as the Directors may appoint for the purpose.
 133. Notwithstanding the foregoing, a Director shall have the authority to affix the Seal, or the facsimile Seal, to any instrument for
      the purposes of attesting authenticity of the matter contained therein but which does not create any obligation binding on the
      Company.


                                                                    OFFICERS
 134. Subject to Article 86, the Company may have Chief Executive Officer, Chief Operating Officer, Chief Technical Officer, Chief
      Financial Officer and other executive officers as the Directors see fit. The Directors may also from time to time appoint such
      other officers as they consider necessary, all for such terms, at such remuneration and to perform such duties, and subject to such
      provisions as to disqualification and removal as the Directors from time to time subscribe.


                                                       CAPITALISATION OF PROFITS
 135. Subject to the Statutes and these Articles, the Board may, with the authority of an Ordinary Resolution:
         (a)   resolve to capitalise an amount standing to the credit of reserves (including a share premium account, capital redemption
               reserve and profit and loss account), whether or not available for distribution;
         (b) appropriate the sum resolved to be capitalised to the Members in proportion to the nominal amount of shares (whether or
             not fully paid) held by them respectively and apply that sum on their behalf in or towards:
               (i)   paying up the amounts (if any) for the time being unpaid on shares held by them respectively; or
               (ii) paying up in full unissued shares or debentures of a nominal amount equal to that sum,
               and allot the shares or debentures, credited as fully paid, to the Members (or as they may direct) in those proportions, or
               partly in one way and partly in the other, but the share premium account, the capital redemption reserved and profits which
               are not available for distribution may, for the purposes of this Article, only be applied in paying up unissued shares to be
               allotted to Members credited as fully paid;
         (c)   make any arrangements it thinks fit to resolve a difficulty arising in the distribution of a capitalised reserve and in particular,
               without limitation, where shares or debentures become distributable in fractions the Board may deal with the fractions as it
               thinks fit;
         (d) authorise a person to enter (on behalf of all the Members concerned) an agreement with the Company providing for either:

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               (i)   the allotment to the Members respectively, credited as fully paid, of shares or debentures to which they may be entitled
                     on the capitalisation, or
               (ii) the payment by the Company on behalf of the Members (by the application of their respective operations of the
                    reserves resolved to be capitalised) of the amounts or part of the amounts remaining unpaid on their existing shares, an
                    agreement made under the authority being effective and binding on all those Members; and
         (e)   generally do all acts and things required to give effect to the resolution.


                                                                    NOTICES
 136. Except as otherwise provided in these Articles, any notice or document may be served by the Company or by the person entitled
      to give notice to any Member either personally, by facsimile or by sending it through the post in a prepaid letter or via a
      recognised courier service, fees prepaid, addressed to the Member at his address as appearing in the Register of Members or, to
      the extent permitted by all applicable laws and regulations, by electronic means by transmitting it to any electronic number or
      address or website supplied by the Member to the Company or by placing it on the Company’s Website. In the case of joint
      holders of a share, all notices shall be given to that one of the joint holders whose name stands first in the Register of Members in
      respect of the joint holding, and notice so given shall be sufficient notice to all the joint holders.
 137. Notices posted to addresses outside the Cayman Islands shall be forwarded by prepaid airmail.
 138. Any Member present, either personally or by proxy, at any meeting of the Company shall for all purposes be deemed to have
      received due notice of such meeting and, where requisite, of the purposes for which such meeting was convened.
 139. Any notice or other document, if served by:
         (a)   post, shall be deemed to have been served five calendar days after the time when the letter containing the same is posted and
               if served by courier, shall be deemed to have been served five calendar days after the time when the letter containing the
               same is delivered to the courier (in proving such service it shall be sufficient to prove that the letter containing the notice or
               document was properly addressed and duly posted or delivered to the courier);
         (b) facsimile, shall be deemed to have been served upon confirmation of receipt;
         (c)   recognised delivery service, shall be deemed to have been served 48 hours after the time when the letter containing the same
               is delivered to the courier service and in proving such service it shall be sufficient to provide that the letter containing the
               notice or documents was properly addressed and duly posted or delivered to the courier; or
         (d) electronic means as provided herein shall be deemed to have been served and delivered on the day following that on which
             it is successfully transmitted or at such later time as may be prescribed by any applicable laws or regulations.

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 140. Any notice or document delivered or sent to any Member in accordance with the terms of these Articles shall notwithstanding
      that such Member be then dead or bankrupt, and whether or not the Company has notice of his death or bankruptcy, be deemed to
      have been duly served in respect of any share registered in the name of such Member as sole or joint holder, unless his name
      shall at the time of the service of the notice or document, have been removed from the Register of Members as the holder of the
      share, and such service shall for all purposes be deemed a sufficient service of such notice or document on all persons interested
      (whether jointly with or as claiming through or under him) in the share.
 141. Notice of every general meeting shall be given to:
         (a)   every person shown as a Member in the Register of Members on the record date for such meeting;
         (b) every person entitled to a share in consequence of the death or bankruptcy of a Member, who but for his death or
             bankruptcy would be entitled to receive notice of the meeting; and
         (c)   each Director and Alternate Director.
         No other person shall be entitled to receive notices of general meetings.


                                                               INFORMATION
 142. No Member shall be entitled to require discovery of any information in respect of any detail of the Company’s trading or any
      information which is or may be in the nature of a trade secret or secret process which may relate to the conduct of the business of
      the Company and which in the opinion of the Board would not be in the interests of the Members of the Company to
      communicate to the public.
 143. The Board shall be entitled to release or disclose any information in its possession, custody or control regarding the Company or
      its affairs to any of its members including, without limitation, information contained in the Register of Members and transfer
      books of the Company.


                                                                INDEMNITY
 144. Every Director (including for the purposes of this Article any Alternate Director appointed pursuant to the provisions of these
      Articles) and officer of the Company for the time being and from time to time shall be indemnified and secured harmless out of
      the assets and funds of the Company against all actions, proceedings, costs, charges, expenses, losses, damages or liabilities
      incurred or sustained by him, otherwise than by reason of his own dishonesty, actual fraud or willful default, in connection with
      the execution or discharge of his duties, powers, authorities or discretions as a Director or officer of the Company, including
      without prejudice to the generality of the foregoing, any costs, expenses, losses or liabilities incurred by him in defending
      (whether successfully or otherwise) any civil proceedings concerning the Company or its affairs in any court whether in the
      Cayman Islands or elsewhere.
 145. No such Director or officer of the Company shall be liable to the Company for any loss or damage unless such liability arises
      through the dishonesty, actual fraud or willful default of such Director or officer.


                                                             FINANCIAL YEAR

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 146. Unless the Directors otherwise prescribe, the financial year of the Company shall end on December 31st in each year and shall
      begin on January 1st in each year.


                                                               WINDING UP
 147. Subject to these Articles, if the Company shall be wound up the liquidator may, with the sanction of an Ordinary Resolution of
      the Company, divide amongst the Members in specie or kind the whole or any part of the assets of the Company (whether they
      shall consist of property of the same kind or not) and may for such purpose set such value as he deems fair upon any property to
      be divided as aforesaid and may determine how such division shall be carried out as between the Members or different classes of
      Members. The liquidator may, with the like sanction, vest the whole or any part of such assets in trustees upon such trusts for the
      benefit of the contributories as the liquidator, with the like sanction shall think fit, but so that no Member shall be compelled to
      accept any shares or other securities whereon there is any liability.


                         AMENDMENT OF MEMORANDUM AND ARTICLES OF ASSOCIATION AND
                                           NAME OF COMPANY
 148. The Company may at any time and from time to time by Special Resolution alter or amend these Articles or the Memorandum of
      Association of the Company, in whole or in part.


                                            REGISTRATION BY WAY OF CONTINUATION
 149. The Company may by Ordinary Resolution resolve to be registered by way of continuation in a jurisdiction outside the Cayman
      Islands or such other jurisdiction in which it is for the time being incorporated, registered or existing. In furtherance of a
      resolution adopted pursuant to this Article, the Directors may cause an application to be made to the Registrar of Companies to
      deregister the Company in the Cayman Islands or such other jurisdiction in which it is for the time being incorporated, registered
      or existing and may cause all such further steps as they consider appropriate to be taken to effect the transfer by way of
      continuation of the Company.
 150.

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